Case 8:07-cv-00661-VMC-AEP Document 1 Filed 04/16/07 Page 1 of 18 PagelD 53

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

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KENNETH A. HENDRICKS
DIANE M. HENDRICKS, &

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AMFINITY CAPITAL, LLC, S
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Plaintiffs, 7 7
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Case No. "9 a
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v. =
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~* MIRABILIS VENTURES, INC.,
‘ PRESIDION CORPORATION,
“ PRESIDION SOLUTIONS, INC.,
YCRAIG A. VANDERBURG,
“ JAMES E. BAJERS, and
~ JOHN W. BURCHAM, II,
Defendants.
/
COMPLAINT

Plaintiffs Kenneth A. Hendricks, Diane M. Hendricks (collectively the
"Hendricks") and Amfinity Capital, LLC ("AmCap") complain of Mirabilis Ventures, Inc.
("Mirabilis"), Presidion Corporation ("Presidion"), Presidion Solutions, Inc. (formerly
Affinity Business Services, Inc., and herein "PS/"), Craig A. Vanderburg
("Vanderburg"), James E. Baiers ("Baiers"), and John W. Burcham, H ("“Burcham") as

follows:
THE PARTIES
1, AmCap is a limited liability company formed in the State of Delaware and
headquartered in Beloit, Wisconsin.
2. The Hendricks are residents of the State of Wisconsin.
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Case 8:07-cv-00661-VMC-AEP Document1 Filed 04/16/07 Page 2 of 18 PagelD 54

3. Mirabilis is a corporation incorporated in the State of Nevada,
headquartered in Nevada, and doing business in the State of Florida.

4. Presidion is a corporation incorporated in the State of Florida,
headquartered in Troy, Michigan, and doing business in the State of Florida.

5. PSI is a corporation incorporated in the State of Florida, headquartered in
Hollywood, Florida, and doing business in the State of Florida.

6. Vanderburg is a resident of the State of Michigan who engaged in the
hereinafter described activities in the State of Florida.

7. Baiers is a resident of the State of Michigan who engaged in the
hereinafter described activities in the State of Florida.

8. Burcham is a resident of the State of Michigan who engaged in the
hereinafter described activities in the State of Florida.

JURISDICTION & VENUE

9. Jurisdiction exists pursuant to 28 U.S.C. §1391(a)(1) by virtue of diversity
of citizenship. Further, the amount in controversy exceeds Seventy-Five Thousand
Dollars ($75,000), exclusive of interest and costs.

10. Venue is properly before this Court pursuant to 28 U.S.C. §1391(a)(2)
because all or part of the parties' agreements were negotiated, executed or delivered in the
State of Florida; the parties' agreements state that jurisdiction shall be with any court
having jurisdiction over persons and property located in Orange County, Florida or
Pinellas County, Florida; and a substantial part of the events or omissions on which the
claim is based occurred in the State of Florida.

FACTS COMMON TO ALL COUNTS

11, In January 2002, PSi acquired from the Hendricks (and other
shareholders) all stock of Amfinity Business Solutions, Inc., now known as ABC IV,
Inc., ("ABS") for $3.5 million (less a "net worth adjustment" described therein) and
various stock options.’ PSI paid $400,000 of the purchase price at closing and the

 

' See Complaint Exhibit 1.

Page 2
Case 8:07-cv-00661-VMC-AEP Document 1 Filed 04/16/07 Page 3 of 18 PagelD 55

remainder was to be paid pursuant to a promissory note ("2002 Note").’ The 2002 Note
was secured by a security interest in the assets of ABS and its wholly owned subsidiaries,
Amfinity H.R. Solutions, Inc., now known as Paradyme, Inc.,("Paradyme"), and
Paradyme National Insurance Brokers, Inc. ("Paradyme Brokers"). Subsequently,
AmCap assigned its rights in the 2002 Note and the related security interests to the
Hendricks.

12. Plaintiffs exercised the foregoing stock option, and other stock options,
and, in conjunction with various other agreements, ultimately acquired 10,135,549 shares
of Presidion Common Stock (the "Stock").

13. The 2002 Note and subsequent credit extended by the Hendricks were
personally guaranteed by defendants Vanderburg, Baiers and Burcham (the
"Guarantors").

14. —_ Effective April 30, 2002, the parties executed a Settlement Agreement and
Release (the "2002 Settlement") to resolve a dispute among them.

15. Pursuant to the 2002 Settlement, PSI executed a Replacement Promissory
Note that the Guarantors guaranteed.’ The Replacement Promissory Note required full
payment of all sums due by January 15, 2003. PSI and the Guarantors breached the
Replacement Promissory Note by failing to timely or fully pay all sums due.

16. Effective January 15, 2003, the parties executed a Settlement Agreement
and Release (the "January 2003 Settlement") to resolve disputes among them.

17. Pursuant to the January 2003 Settlement, PSI executed a Second
Replacement Promissory Note that the Guarantors guaranteed. The Second Replacement

Promissory Note ("2"" Note") required full payment of all sums due by April 15, 2003.

 

* Complaint Exhibit 2.

; Complaint Exhibit 3, Burcham Unlimited Continuing Guaranty Agreement ("Barcham
2002 Guaranty"); Complaint Exhibit 4, Vanderburg Unlimited Continuing Guaranty
Agreement ("Vanderburg 2002 Guaranty"); Complaint Exhibit 5, Baiers Unlimited
Continuing Guaranty Agreement ("Baiers 2002 Guaranty")

* See Exhibits 4, 5 & 6 wherein Guarantors guaranteed payment of future credit
extensions to PSI.

Page 3
Case 8:07-cv-00661-VMC-AEP Document 1 Filed 04/16/07 Page 4 of 18 PagelD 56

PSI and the Guarantors breached the 2" Note by failing to timely or fully pay all sums
due.

18. In or about February 2003, MediaBus Networks, Inc. (now Presidion via a
name change) acquired 100% of PSI's outstanding common stock.

19, Effective April 15, 2003, the parties resolved a dispute by execution of a
Release and Settlement Agreement (the "April 2003 Settlement '") that was executed by
PSI, Presidion, Paradyme, Paradyme Brokers, the Guarantors, and others, on the one
hand, and AmCap, the Hendricks, and others, on the other hand.

20. Effective April 15, 2003, PSI executed a Third Replacement Promissory
Note ("3 Note") that was guaranteed by the Guarantors. The 3" Note required monthly
payments and payment in full by April 15, 2004. PSI and the Guarantors breached the 3"?
Note by failing to timely or fully pay all sums due.

21. The April 2003 Settlement required Presidion to cause a Letter of Credit to
be issued for the Hendricks’ benefit by Strategic Capital Investments, d/b/a Strategic
Bancorp ("Strategic"), in the amount of $2,673,000. Presidion procured the Letter of
Credit but Strategic refused, without valid or just cause, to pay the Hendricks after proper
demand for payment.

22, On or about May 14, 2004, the Hendricks notified Presidion that Presidion
was in default under the 3 Note because Presidion (1) breached various Stock
Registration Rights Agreements by failing to properly and timely file Hendricks’ Stock
registration statement, (2) defaulted on Comerica loan agreements, (3) breached its
agreements with Mercator Advisory Group and/or its subsidiaries and affiliates, (4)
impaired its ability to pay on the note, (5) became insolvent, and (6) failed to deposit
various amounts into escrow for the benefit of plaintiffs and others.

23. On or about June 9, 2004, the parties entered into a Forbearance
Agreement (the "/" FA") wherein AmCap, the Hendricks and others agreed to refrain
from exercising their rights under the parties’ prior notes and agreements if certain

conditions were met. Pursuant to the 1‘ FA, the defendants (Mirabilis excepted) agreed

 

> Complaint Exhibit 6.

Page 4

 
Case 8:07-cv-00661-VMC-AEP Document 1 Filed 04/16/07 Page 5 of 18 PagelD 57

to, among other things, (1) immediately pay all past accrued interest, (2) pay AmCap
$45,000, and (3) pay all note amounts due by July 15, 2004.

24, On or about September 28, 2004, the Hendricks notified Presidion,
Vanderburg and Baiers that Presidion was in default of note obligations and that the
Hendricks intended to draw down on their Letter of Credit.

25. In early October 2004, the parties entered into a Second Forbearance
Agreement (the "2" FA") wherein the Hendricks agreed to refrain from exercising their
debt collection rights under the parties' prior notes and agreements until after October 13,
2004 if certain conditions were met. In the 2" FA, the defendants (Mirabilis excepted)
acknowledged that, among other things, the principal debt to the Hendricks was
$2,672,662.88, accumulated interest was $39,248.22, the Hendricks had properly
accelerated the indebtedness, that obligors have no defenses to or offset against the
indebtedness, and that the Hendricks demand for payment in full of the indebtedness was
timely and proper.

26. On or about October 28, 2004, the Hendricks sent Strategic an original
executed sight draft ("Sight Draft") to draw on the Letter of Credit. Strategic received the
Sight Draft on or about October 29, 2004 but refused to pay on the Letter of Credit.
Strategic is a bogus entity that lacked the financial resources to pay on the Letter of
Credit. The Hendricks thereafter sued Strategic in the United States District Court for the
Central District of California.

27.  Onor about January 7, 2005, the parties entered into a Third Forbearance
Agreement ("3 FA") wherein the Hendricks agreed to refrain from exercising their debt
collection rights under the parties’ prior notes and agreements until after January 26, 2005
if certain conditions were met. In the 3" FA, the defendants (Mirabilis excepted)
acknowledged that, among other things, the principal debt to the Hendricks was
$2,672,662.88, accumulated interest was $80,399.83, the Hendricks had properly
accelerated the indebtedness, that obligors have no defenses to or offset against the
indebtedness, and that the Hendricks demand for payment in full of the indebtedness was

timely and proper.

Page 5

 
Case 8:07-cv-00661-VMC-AEP Document 1 Filed 04/16/07 Page 6 of 18 PagelD 58

28. On or about February 9, 2005, the parties entered into a Fourth
Forbearance Agreement ("4 FA") wherein the Hendricks agreed to refrain from
exercising their debt collection rights under the parties' prior notes and agreements until
after February 14, 2005 if certain conditions were met. In the 4" FA, the defendants
(Mirabilis excepted) acknowledged that, among other things, the principal debt to the
Hendricks was $2,672,662.88, the Hendricks had properly accelerated the indebtedness,
that obligors have no defenses to or offset against the indebtedness, and that the
Hendricks demand for payment in full of the indebtedness was timely and proper.

29, On or about February 24, 2005, the parties entered into a Fifth
Forbearance Agreement ("5” FA") wherein the Hendricks agreed to refrain from
exercising their debt collection rights under the parties’ prior notes and agreements until
after March 31, 2005 if certain conditions were met. In the 5" FA, the defendants
(Mirabilis excepted) acknowledged that, among other things, the principal debt to the
Hendricks was $2,672,662.88, accumulated interest as of February 14, 2005 was zero,
interest on indebtedness was eighteen percent (18%) per annum, the Hendricks had
properly accelerated the indebtedness, that obligors have no defenses to or offset against
the indebtedness, and that the Hendricks demand for payment in full of the indebtedness
was timely and proper.

30. | The defendants (Mirabilis excepted) breached and otherwise failed to
fulfill their 1°' FA, 2™ FA, 3° FA, 4™ FA and 5" FA duties and obligations.

31. On or about February 16, 2006, the Hendricks and Mirabilis Ventures, Inc.
("Mirabilis") entered into various agreements that included but are not limited to a
Purchase Agreement, a Note and Loan Agreement ("2006 Note"), and a Security
Agreement (Negotiable Collateral) (herein "Security Agreement").®

32. Pursuant to the Purchase Agreement, Mirabilis promised to pay Hendricks
$2,847,196.39 (consisting of $2,672,662.88 in 2006 Note principal, $164,533.51 in 2006

Note interest at seven percent (7%) per annum, and $10,000 in attorney's fees [the

 

® Complaint Exhibit 7.
? Complaint Exhibit 8.
® Complaint Exhibit 9.

Page 6
Case 8:07-cv-00661-VMC-AEP Document 1 Filed 04/16/07 Page 7 of 18 PagelD 59

"Purchase Agreement Price"]) in exchange for right, title, and interest in various things,
to-wit:

a. 3™ Note as amended or modified by the 1° FA, 2™ FA, 3 FA, 4@
FA and 5" FA;

b. Certain Security Agreements dated January 16, 2002 executed by
Amfinity Business Solutions, Inc. (n/k/a Paradyme) and Paradyme Brokers, all of which
were given as security for the 3rd Note;

C. The Vanderburg 2002 Guaranty;

d. The Baiers 2002 Guaranty;

€. The Burcham 2002 Guaranty; and

f. An Assignment of Rights encompassing all of the Hendricks's
rights in the pending litigation against William Leyton and Strategic in the United States
District Court for the Central District of California. The foregoing items described in
A-F, above, are herein the "Loan Documents".

33. The Purchase Agreement further provided that, until the Purchase
Agreement Price was paid in full, the Hendricks retain ownership of the Loan Documents
as security.

34. On or about February 16, 2006, Vanderburg and Baiers each executed
Guaranties ("Vanderburg 2006 Guaranty"’; "Baiers 2006 Guaranty"'®
2006 Note indebtedness (and all other debts of Mirabilis to the Hendricks) would be

)} guaranteeing the

properly and timely paid in full to the Hendricks.

35. Also on or about February 16, 2006, AmCap and the Hendricks entered
into a Registration Rights Agreement!! ("Registration Agreement") with Presidion.

36. Mirabilis made its last 2006 Note payment to the Hendricks on or about
January 9, 2007, leaving a balance due the Hendricks of $1,887,118.58, more or less, on
the 2006 Note. No further payments have been made by Mirabilis.

 

” Complaint Exhibit 10.
© Complaint Exhibit 11.
'! Complaint Exhibit 12.

Page 7
Case 8:07-cv-00661-VMC-AEP Document1 Filed 04/16/07 Page 8 of 18 PagelD 60

37. Plaintiffs have performed all obligations and conditions precedent required

by all agreements referenced in this Complaint.
COUNT 1
MIRABILIS BREACH OF PURCHASE AGREEMENT

38. The foregoing allegations are incorporated herein by reference.

39. The Purchase Agreement requires Mirabilis to pay the Hendricks the
Purchase Price in accord with 2006 Note terms.

40. Purchase Agreement J 11 states that in "an action between any parties
hereto based upon this Agreement, the prevailing party(s) in the action shall be entitled to
such party's reasonable attorneys’ fees and costs incurred therein."

41, On or about March 23, 2007 (and on other occasions), the Hendricks
notified Mirabilis of its breach of the Purchase Agreement. Mirabilis has failed to correct
its breach of the Purchase Agreement.

42. Mirabilis breached the Purchase Agreement by, among other things,
failing to timely and fully pay the Purchase Agreement Price to the Hendricks. Mirabilis’
breach proximately caused the Hendricks the loss of sums described herein.

WHEREFORE, premises considered, the Hendricks pray that this Court will take
jurisdiction of this cause and, upon final hearing, enter an order providing the following
relief in favor of the Hendricks and against Mirabilis:

a. A judgment for $1,887,118.58 in damages (said amount
representing the unpaid Purchase Price as of January 9, 2007), plus interest thereon from
January 9, 2007 through March 26, 2007 at the 2006 Note rate of seven percent (7%) and,
thereafter, at the 2006 Note default interest rate of eighteen percent (18%);

b. Reasonable attorney fees and expenses incurred in enforcing the
Purchase Agreement;

c. Recovery for various other losses which are not yet known to the
Hendricks but which will be established at trial; and

d. Such other relief as may be necessary to fairly adjudicate this

dispute and justly determine the rights, duties and Habilities of the parties.

Page 8
Case 8:07-cv-00661-VMC-AEP Document 1 Filed 04/16/07 Page 9 of 18 PagelD 61

COUNT 2
MIRABILIS BREACH OF NOTE AND LOAN AGREEMENT

43. The foregoing allegations are incorporated herein by reference.

44. Pursuant to 2006 Note § 1, Mirabilis agreed to pay the Hendricks
$2,347,196.39 in 71 equal monthly principal payments of $30,175.87 beginning on April
1, 2006 and ending on March 1, 2012, except for one principal payment of $204,709.38
due on September 1, 2006. Simultaneously with each principal payment, Mirabilis
agreed to pay the Hendricks all interest then-accrued at a seven percent (7%) per annum
rate (2006 Note € 3).

45. Mirabilis made its last 2006 Note payment to the Hendricks on or about
January 9, 2007. No further payments have been made by Mirabilis.

46, Mirabilis breached its February 1, 2007 and subsequent 2006 Note
payment obligations, was properly notified of said default on or about March 23, 2007
(and on other occasions), has not cured its default within three days of notice (2006 Note
413A), and is in default under the 2006 Note (the "Note Default").

47. Pursuant to 2006 Note { 4, interest on the unpaid balance of $1,887,118.58
accumulated at the rate of seven percent (7%) from January 9, 2007 through March 26,
2007 and, per 2006 Note § 13A, interest on the unpaid balance (including accrued
interest) accumulated at the 2006 Note default interest rate of eighteen percent (18%), or
the highest rate of interest allowed under Florida law, whichever is less.

48. Pursuant to 2006 Note ff 5 & 14, the Hendricks may declare all
outstanding principal and interest immediately due and payable in the event of a note
default. The Hendricks have and hereby again declare all outstanding principal and
interest immediately due and payable because of the 2006 Note default.

49, Pursuant to 2006 Note Jf 12D & 16, Mirabilis must reimburse the
Hendricks for all Note collection costs (including but not limited to reasonable attorney's

fees, court costs, discovery expenses, and investigation costs).

Page 9

 
Case 8:07-cv-00661-VMC-AEP Document1 Filed 04/16/07 Page 10 of 18 PagelD 62

WHEREFORE, premises considered, the Hendricks pray that this Court will take
jurisdiction of this cause and, upon final hearing, enter an order providing the following
relief in favor of the Hendricks and against Mirabilis:

a. A judgment for $1,887,118.58 in damages (said amount
representing the unpaid Purchase Price as of January 9, 2007), plus interest thereon from
January 9, 2007 through March 26, 2007 at the 2006 Note rate of seven percent (7%) and,
thereafter, at the 2006 Note default interest rate of eighteen percent (18%);

b. Reasonable attorney fees and expenses incurred in enforcing the
Purchase Agreement;

c. Recovery for various other losses which are not yet known to the
Hendricks but which will be established at trial; and

d. Such other relief as may be necessary to fairly adjudicate this

dispute and justly determine the rights, duties and liabilities of the parties.

 

 

COUNT 3
MIRABILIS BREACH OF SECURITY AGREEMENT
(NEGOTIABLE COLLATERAL)
50. The foregoing allegations are incorporated herein by reference.
51 Security Agreement Collateral consists of various Loan Documents,

including but not limited to, the Loan Documents (listed above), and all “additions,
attachments, accessions, parts, replacements, substitutions, renewals, interest, dividends,
distributions, rights of any kind (including but not limited to stock splits, stock rights,
voting and preferential rights), products, and proceeds of or pertaining to the [foregoing
described collateral], including, without limit, cash or other property which were
proceeds and are recovered by a bankruptcy trustee or otherwise as a preferential transfer
by [Mirabilis]," and all items listed on Security Agreement Schedule A, if any (the
"Collateral’).

52, Pursuant to the Security Agreement, Mirabilis granted the Hendricks a
continuing security interest and Hien in the Collateral to secure payment of the Loan

Agreement debt.

Page 10
Case 8:07-cv-00661-VMC-AEP Document1 Filed 04/16/07 Page 11 of 18 PagelD 63

53. Mirabilis breached the Security Agreement by failing to timely and fully
pay all indebtedness secured by the Security Agreement.

54. On or about March 23, 2007, the Hendricks notified Mirabilis of its failure
to comply with Security Agreement terms and conditions. Mirabilis has failed to correct
its noncompliance with Security Agreement terms and conditions.
| 55. Mirabilis is in default of its Security Agreement duties.

56. Pursuant to Security Agreement 4] 4.2, the Hendricks, by the filing of this
Complaint, hereby (and again) declare that all of the indebtedness secured by the Security
Agreement is immediately due and payable in full.

57. Security Agreement § 4.4 provides that the Hendricks may apply the
proceeds of any sale or other disposition of Security Agreement collateral to payment of
all reasonable attorney fees and legal expenses incurred by the Hendricks before any of
such proceeds are applied to reduce the indebtedness secured by the Security Agreement.

WHEREFORE, premises considered, the Hendricks pray that this Court will take
jurisdiction of this cause and, upon final hearing, enter an order providing the following
relief in favor of the Hendricks and against Mirabilis:

a. Declaring the Hendricks the lawful owners of all Collateral;

b. Mandating that Mirabilis relinquish all right, title, interest and
possession of all Collateral and deliver to the Hendricks all Collateral;

c. Reasonable attorney fees and expenses incurred in enforcing the
Security Agreement;

d. Recovery for various other losses which are not yet known to the
Hendricks but which will be established at trial; and

e. Such other relief as may be necessary to fairly adjudicate this
dispute and justly determine the rights, duties and liabilities of the parties.

COUNT 4
VANDERBURG BREACH OF GUARANTIES

58. The foregoing allegations are incorporated herein by reference.

Page 11
Case 8:07-cv-00661-VMC-AEP Document1 Filed 04/16/07 Page 12 of 18 PagelD 64

59. Pursuant to the Vanderburg 2002 Guaranty, Vanderburg guaranteed to the
Hendricks that the 3“ Note would be timely and fully paid, including all attorney fees and
other costs incurred by the Hendricks in collecting sums due thereon.

60. The 3 Note required payment in full by April 15, 2004. PSI and the
Guarantors breached the 3" Note by failing to timely or fully pay all sums due.

61. Pursuant to the Vanderburg 2006 Guaranty, Vanderburg guaranteed the
Hendricks that Mirabilis would pay all sums due under the 2006 Note, including all
attorney fees and other costs incurred by the Hendricks in collecting sums due thereon.

62. Mirabilis breached its February 1, 2007 and all subsequent 2006 Note
payment obligations, was properly notified of said default on or about March 23, 2007
{and on other occasions), has not cured its default within three days of notice (Note §
13A), and is in default under the 2006 Note (the "Note Default").

63. The unpaid balance on the notes is $1,887,118.58 in principal, plus
interest thereon at the rate of seven percent (7%) from January 9, 2007 through March 26,
2007, plus interest thereon at the rate of eighteen percent (18%) on the March 26, 2007
unpaid balance (principal plus accumulated interest).

64, As guarantor, Vanderburg owes the Hendricks all note balances, plus
interest, plus collection costs.

65. | Vanderburg has not paid all note sums due and, hence, is in breach of the
Vanderburg guarantees.

WHEREFORE, premises considered, the Hendricks pray that this Court will take
jurisdiction of this cause and, upon final hearing, enter an order providing the following
relief in favor of the Hendricks and against Vanderburg:

a. A judgment for $1,887,118.58 in damages (said amount
representing the note balances on January 9, 2007), plus interest from January 9, 2007
through March 26, 2007 at the agreed rate of seven percent (7%) and, thereafter, at the
agreed default interest rate of eighteen percent (18%);

b. Reasonable attorney fees and expenses incurred in enforcing and

collecting on the notes;

Page 12
Case 8:07-cv-00661-VMC-AEP Document1 Filed 04/16/07 Page 13 of 18 PagelD 65

Cc. Recovery for various other losses which are not yet known to the
Hendricks but which will be established at trial; and
d. Such other relief as may be necessary to fairly adjudicate this
dispute and justly
determine the rights, duties and liabilities of the parties.
COUNT 5
BAIJERS BREACH OF GUARANTIES

66. The foregoing allegations are incorporated herein by reference.

67. Pursuant to the Baiers 2002 Guaranty, Baiers guaranteed to the Hendricks
that the 3 Note would be timely and fully paid, including all attorney fees and other
costs incurred by the Hendricks in collecting sums due thereon.

68. The 3™ Note required payment in full by April 15, 2004. PSI and the
Guarantors breached the 3" Note by failing to timely or fully pay all sums due.

69. Pursuant to the Baiers 2006 Guaranty, Baiers guaranteed the Hendricks
that Mirabilis would pay all sums due under the 2006 Note, including all attorney fees
and other costs incurred by the Hendricks in collecting sums due thereon.

70. Mirabilis breached its February 1, 2007 and all subsequent 2006 Note
payment obligations, was properly notified of said default on or about March 23, 2007
(and on other occasions), has not cured its default within three days of notice (Note J
13A), and is in default under the 2006 Note {the "Note Default").

71. The unpaid balance on the notes is $1,887,118.58 in principal, plus
interest thereon at the rate of seven percent (7%) from January 9, 2007 through March 26,
2007, plus interest thereon at the rate of eighteen percent (18%) on the March 26, 2007
unpaid balance (principal plus accumulated interest).

72. As guarantor, Baiers owes the Hendricks all note balances, plus interest,
plus collection costs.

73. Baiers has not paid all note sums due and, hence, is in breach of the

Baiers' guarantees.

Page 13
Case 8:07-cv-00661-VMC-AEP Document1 Filed 04/16/07 Page 14 of 18 PagelD 66

WHEREFORE, premises considered, the Hendricks pray that this Court will take
jurisdiction of this cause and, upon final hearing, enter an order providing the following
relief in favor of the Hendricks and against Baiers:

a. A judgment for $1,887,118.58 in damages (said amount
representing the note balances on January 9, 2007), plus interest from January 9, 2007
through March 26, 2007 at the agreed rate of seven percent (7%) and, thereafter, at the
agreed default interest rate of eighteen percent (18%);

b. Reasonable attorney fees and expenses incurred in enforcing and
collecting on the notes;

c. Recovery for various other losses which are not yet known to the
Hendricks but which will be established at trial; and

d. Such other relief as may be necessary to fairly adjudicate this
dispute and justly determine the rights, duties and liabilities of the parties.

COUNT 6
BURCHAM BREACH OF GUARANTY

74. The foregoing allegations are incorporated herein by reference.

75. Pursuant to the Burcham 2002 Guaranty, Burcham guaranteed the 3rd
Note to the Hendricks. More specifically, Burcham agreed to pay all unpaid sums due
under the 3rd Note, plus interest at the rate of ten percent (10%) per annum, including all
attorney fees and other costs incurred by the Hendricks in collecting sums due on
thereon.

76. PSI breached its obligations to pay the 3rd Note indebtedness and, after
credit for amounts paid by Mirabilis, the unpaid 3“ Note balance is $1,887,118.58 in
principal, plus interest thereon at the agreed rates.

77. As 3" Note guarantor, Burcham owes the Hendricks all 3" Note balances,
plus interest, plus collection costs.

78. Burcham has not paid all 3" Note sums due and, hence, is in breach of the

Burcham 2002 Guaranty.

Page 14
Case 8:07-cv-00661-VMC-AEP Document1 Filed 04/16/07 Page 15 of 18 PagelD 67

WHEREFORE, premises considered, the Hendricks pray that this Court will take
jurisdiction of this cause and, upon final hearing, enter an order providing the following
relief in favor of the Hendricks and against Burcham:

a. A judgment for $1,887,118.58 in damages (said amount
representing the Note balance on January 9, 2007), plus interest thereon at agreed rates;

b. Reasonable attorney fees and expenses incurred in collecting on
the 3 Note;

c. Recovery for various other losses which are not yet known to the
Hendricks but which will be established at trial; and

d. Such other relief as may be necessary to fairly adjudicate this
dispute and justly determine the rights, duties and Habilities of the parties.

COUNT 7
PSI BREACH OF THIRD REPLACEMENT PROMISSORY NOTE

79. The foregoing allegations are incorporated herein by reference.

80. PSI breached its 3"! Note duties and obligations by failing to fully and
timely pay all sums due thereunder.

81. After credit for amounts paid by Mirabilis, the unpaid 3 Note balance is
$1,887,118.58 in principal, plus interest thereon.

82. The Hendricks gave PSI proper written notice of PSI’s default of its
obligations under the 3" Note and notice of the Hendricks’ declaration that all sums owed
thereby were due and payable.

83. 3 Note § 9 requires PSI to pay “all attorneys’ fees and costs incurred by
[the Hendricks] in collecting or attempting to collect this Note, by suit or otherwise."

WHEREFORE, premises considered, the Hendricks pray that this Court will take
jurisdiction of this cause and, upon final hearing, enter an order providing the following
relief in favor of the Hendricks and against PSI:

a. A judgment for $1,887,118.58 in damages (said amount

representing the 3" Note balance on January 9, 2007), plus interest at agreed rates;

Page 15
Case 8:07-cv-00661-VMC-AEP Document1 Filed 04/16/07 Page 16 of 18 PagelD 68

b. Reasonable attorney fees and expenses incurred in collecting on
the 3rd Note;

c. Recovery for various other losses which are not yet known to the
Hendricks but which will be established at trial; and

d. Such other relief as may be necessary to fairly adjudicate this
dispute and justly determine the rights, duties and liabilities of the parties.

COUNT 8
PRESIDION BREACH OF REGISTRATION RIGHTS AGREEMENT

84. ‘The foregoing allegations are incorporated herein by reference.

85. As of February 16, 2006 (and through the date of this Complaint), AmCap
and the Hendricks owned 10,135,549 shares of Presidion Common Stock (the "Stock").

86. Registration Agreement {| 2(a) requires that Presidion file a registration
statement with the United States Securities and Exchange Commission ("SEC")
registering the Stock for resale (the "Registration Statement").

87. Registration Agreement { 3(b) requires, among other things, that Presidion
use such efforts as are necessary to make the Registration Statement effective no more
than 120 days after the Registration Statement is filed with the SEC.

88. Registration Agreement { 3(r) requires Presidion to pay “all costs, fees and
expenses in connection with the Registration statement filed”.

89. _—_— Registration Agreement { 14 enables the prevailing party in this or any
other litigation to recover "reasonable attorneys’ fees and disbursements".

90 Presidion breached the Registration Agreement by, among other things,
never filing the Registration Statement with the SEC.

91. Plaintiffs have suffered damage proximately caused by Presidion’s breach
of the Registration Rights Agreement to-wit:

a. Plaintiffs have been wrongfully denied access to and use of the
Stock, which Plaintiffs could have traded on the open market;
b. Plaintiffs have had to incur attorney fees and expenses in efforts to

enforce the Registration Rights Agreement; and

Page 16
Case 8:07-cv-00661-VMC-AEP Document1 Filed 04/16/07 Page 17 of 18 PagelD 69

c. Plaintiffs have incurred other losses that will be more fully
described at trial.

WHEREFORE, the Plaintiffs pray that this Court will take jurisdiction of this
cause and, upon final hearing, enter an order providing the following relief in favor of the
Plaintiffs and against Presidion:

a. Mandating that Presidion register the common shares owned by the
Hendricks and AmCap in accordance with the Registration Rights Agreement;

b. Compensation for losses suffered in share price differential
because the shares were not timely registered in accordance with the Registration Rights
Agreement;

c. Reasonable attorney fees and expenses incurred in enforcing the
Registration Right Agreement;

d. Recovery for various other losses which are not yet known to the
Hendricks but which will be established at trial; and

e. Such other relief as may be necessary to fairly adjudicate this
dispute and justly determine the rights, duties and liabilities of the parties.

BENCH TRIAL REQUESTED.
DATED this day of April 2007.

{BA IT, BOLT, KIRK WOOD,
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Page 17

 
Case 8:07-cv-00661-VMC-AEP Document1 Filed 04/16/07 Page 18 of 18 PagelD 70

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BBKLDOCS-#326957-vi-HENDRICKS Complaint.DOC

Page 18
